
38 So.3d 527 (2010)
John W. STANTON, et al.
v.
LOUISIANA WORKERS' COMPENSATION CORPORATION, et al.
No. 09-1539.
Court of Appeal of Louisiana, Third Circuit.
May 5, 2010.
Gregory E. Bodin, Baker, Donelson, Bearman, Caldwell &amp; Berkowitz, P.C., Baton Rouge, LA, for Defendant/Appellant Louisiana Workers' Compensation Corporation.
Kirk L. Landry Keogh, Cox &amp; Wilson, Ltd., Baton Rouge, LA, for Defendant/Appellant Vaughan Roofing &amp; Sheet Metal, Inc.
Robert M. Martina, Galloway &amp; Jeffcoat, LLP, Lafayette, LA, for Defendant/Appellee Integrity Contracting.
Janice H. Barber, Sulphur, LA, for Plaintiff/Appellee Antonio G. Rodriguez.
Court composed of JIMMIE C. PETERS, MARC T. AMY, and J. DAVID PAINTER, Judges.
AMY, Judge.
For discussion of this matter, see the opinion of the companion case at Antonio G. Rodriguez v. Integrity Contracting, et al., 09-1537 (La.App. 3 Cir. 5/5/10), 38 So.3d 511.
AFFIRMED. ADDITIONAL ATTORNEY FEES AWARDED FOR WORK PERFORMED ON APPEAL.
